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 3                         UNITED STATES DISTRICT COURT
 4                                DISTRICT OF NEVADA
 5    SUMONTINEE SRIDEJ,                             Case No. 2:23-cv-00114-ART-BNW
 6                                 Petitioner,                  ORDER
            v.
 7
      ANTONY J. BLINKEN, et al.,
 8
                               Respondents.
 9

10         The parties stipulate to an extension of time for Respondents to file their
11   response to Petitioner’s Motion to Reopen. (ECF No. 29.) The Court finds that the
12   request is made in good faith and not solely for the purpose of delay, and
13   therefore, good cause exists to grant the extension.
14         It is therefore ordered that the parties’ Stipulation for Extension of Time
15   (ECF No. 29) is granted. Respondents have until September 21, 2023, to file their
16   response.
17         DATED THIS 14th day of September 2023.
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19                                         ANNE R. TRAUM
                                           UNITED STATES DISTRICT JUDGE
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